C<'J\S€ 2117-CV'Q7|E9§)(§WTES Mitlf°ii QGURT, Eéi€'£izADHlZfWCT BQGRLIF@§I@|A P<'J\Q€ |D #f 113

 

 

 

 

 

 

 

ClVlL COVER SHEET
l. (a) PLA|NT|FFS ( Check box if you are representing yourself |:| ) DEFENDANTS (Check box if you are representing yourself |:| )
The Walt Disney Company A|G Specia|ty |nsurance Company f/k/a Chartis Specia|ty |nsurance Company
(b) County of Residence of First Listed Plaintiff Los Angeles County of Residence of First Listed Defendant New York
(EXCEPTIN U.S. PLAINTlFF CASES) (IN U.S. PLAlNTIFF CA$E$ ONL Y)
(C) Attorneys (Firm Name, Address and Telephone Number) |f you are Attorneys (Firm Name, Address and Telephone Number) |f you are
representing yourself, provide the same information. representing yourself, provide the same information.
Martin Myers (SBN 130218) of Covington and Bur|ing, LLP, One Front Street, San Michael Bowe of Kasowitz Benson &Torres, 1633 Broadway, New York, NY 10019
Francisco, CA 941 1 1 (415-591-7026) (212-506-1777)
II. BASIS OF JURISDICTION (P|ace an X in one box only_) lll. CITlZENSHIP OF PRINCIPAL PARTlEs-FOI' Diversity CaSeS Only
(P|ace an X in one box for plaintiff and one for defendant)
_ PTF DEF . . PTF DEF
1. U.S. Government |:| 3. Federal Questlon (U.S. Citizen of-|-h1s State 1:1 1 1:| 1 |ncorporate_d or _Pnnclpal Place 4 1:1 4
Plaintiff Government Not a Party) °f Bus'ness m th'$ State
Citizen of Another State |:| 2 |:| 2 incorporated and Principa| Place I:l 5 lXI 5
d h of Business in Another State
2. U.S. Government 4. Diversity (|n icate Citizens ip Citizen or Subject of a . .
. Forel n Natlon 6 6
Defendant of Parties in item lll) Forelgn Country l:l 3 l:l 3 9 l:l l:l
|V' oRK.".N (P|ace an X m one P°X °n|y') f . f f h 6. Multidistrict a. Multidistrict
1. Orlglnal 2. Removed rom 1:1 3. Remanded rom 1:1 4. Relnstated or 1:1 5. Trans erred rom Anot er 1:1 litigation _ 1:1 litigation _
Proceeding State Court Appe||ate Court Reopened District (Specify) Transfer Direct pile

 

V. REQUESTED lN COMPLA|NT: JURY DEMAND: |:| YeS No (CheCk"YeS" On|y if demanded in complaint-)

CLASS ACT|ON under F.R.CV.P. 23: |:| Yes No |:| MONEY DEMANDED IN COMPLAINT: $
Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)

 

Petition to compel arbitration pursuant to Section 4 of Federal Arbitration Act, 9 U.S.C. § 4.

 

V||. NATURE OF SU|T (P|ace an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. lMMlGRATlON PRISONER PETITlONS PROPERTY RlGHTS
|:| 375 Fa|se C|aims Act 110 |nsurance |:| 240 Torts to Land 1:1 gi;|l;lcaatt\:(r)a:ization |-|abeas C°rpus; |:| 820 Copyrights
. - 245 Tort Product ‘ '
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375 Q lTam |:| 120 Marlne l:l l:l 453 A|'en Deta'"ee |:| 830 Patent
|:| Llabl|lty 455 Other 510 Motions to Vacate ,
(31 USC 3729(3)) |:| 130 Miller Act |:| 290 All Other Real |:| immigration Actions |:| Senten€e |:| 835 Patent ' Ab.b'e‘."ated
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|:| 410 Antitrust 350 Recoveryt<g EP:':::_NA|'- 'NJURY |:| 370 other Fraud when soclAL sEcuRlTY |
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l:l 430 Ba“k$ and Bank'ng |:| Enforcement of 315A1rplane |:| 371 Truth in Lending |:| 540 Mandamus/Other l:l 851 H|A(1395m
450 Commerce/|CC . .. - - - 862 Bl kL 923
m Rates/Etc. Judgment |:| Product Llabl|lty 1:1 380 other Personal |:| 550 C'V" R'th$ § ac “"9( )
. 151 Medicare Act 320 Assau|t, Libe| & Property Damage 555 Prison Condition 863 D|WC/D|WW (405 (g))
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anne
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|:| 350 _SFCU"tleS/Com' Vet. Benefits 423 Withdrawa| 28 |:| Seizure of Property 21 \:l Defendant)
modltles/Exchange |:| 160 Stockholders. |:| 350 MotorVehicle l:l USC 157 |:| l;;g 258:1 |:| 871 lRS_Third Party 26 USC
890 otherstatuto suits 355 MotorVehicle clvlL mel-ns t er 7609
l:l Acti°ns ry |:| Product Liability |:| 440 Oth C_ _| R_ ht LAB°R
- 190 Other 3600111 P 1 er lvl lg s
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FOR OFFlCE USE ONLY: Case Number:
CV-71 (05/1 7) C|V|L COVER SHEET Page 1 of 3

 

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ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's Genera| Orders, upon review by the Court of your Comp|aint or Notice of Remova|.

 

QUEST|ON A: Was this case removed
from state court?

|:| Yes

|f “no, " skip to Question B. |f "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

-No

STATE CASE WAS PEND|NG lN THE COUNTY OF:

lNlTlAL D|V|S|ON lN CACD lS:

 

 

 

|:| Los Ange|es, Ventura, Santa Barbara, or San Luis Obispo Western
|:| Orange Southern
|:| Riverside or San Bernardino Eastern

 

 

 

QUEST|ON B: ls the United States, or
one of its agencies or employees, a
PLA|NT|FF in this action?

|:| Yes |X| No

|f “no, " skip to Question C. |f "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern“ in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

->

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern“ in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUEST|ON C: ls the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

|:| Yes |X| No

|f “no, " skip to Question D. |f "yes," answer
Question C.1, at right.

C.1 . Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern“ in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern“ in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

|:| Enter "Western" in response to Question E, below, and continue
from there.

A. B. C.
. . . Riverside or San Los Angeles Ventura
. 7 I I
QUEST|ON D. Locatlon of plaintiffs and defendants. Orange County Bemardino County Santa Barbara, or San
Luis Obispo County

indicate the location(s) in which 50% or more of plaintiffs Who reside in this district |:| |:1

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

l:l

E l:l

 

 

 

 

D.1. ls there at least one answer in Column A?

|:| Yes

|f "yes," your case will initially be assigned to the
SOUTHERN D|V|S|ON.
Enter “Southern" in response to Question E, below, and continue from there.

|f "no," go to question D2 to the right.

-No

->

D.2. ls there at least one answer in Column B?

|:| Yes No

|f "yes," your case will initially be assigned to the

EASTERN D|V|S|ON.

Enter "Eastern“ in response to Question E, below,

|f "no," your case will be assigned to the WESTERN D|V|S|ON.

Enter "Western" in response to Question E, below,

 

QUEST|ON E: lnitial Division?

lNlTlAL D|V|S|ON lN CACD

 

Enter the initial division determined by Question A, B, C, or D above: _}

 

Western Division

 

QUEST|ON F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties'!

|:| Yes No

 

CV-71 (05/17)

ClVlL COVER SHEET

Page 2 of 3

 

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ClVlL COVER SHEET

lX(a). lDENTlCAL CASES: Has this action been previously filed in this court'! NO |:| YES

|f yes, list case number(s):

 

lX(b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

|f yes, list case number(s):

No |:| YEs

 

Civil cases are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;

|:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

|:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;

|:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. |nvolve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

 

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LlTlGANT):

/s/ Martin Myers DATE: October17, 2017

 

 

Notice to CounsellParties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistica| codes relating to Social Security Cases:

Nature of Suit Code Abbreviation
861 HlA
862 BL
863 D|WC
863 D|WW
864 SS|D
865 RS|

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. A|so,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "B|ack Lung" benefits under Title 4, Part B, of the Federal Coa| Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for chi|d's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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ClVlL COVER SHEE|' Page 3 of 3

